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UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY

 TET SYSTEMS GMBH & CO. KG,
                                                   Civil Action No. 2:19-cv-9375
                             Plaintiff,
                                                            RULE 7.1 DISCLOSURE
                       -v-
                                                                  STATEMENT
 VECTOR BUILDER, INC. and AUSTIN
 JELCICK,

                        Defendants.



        The undersigned counsel for plaintiff TET SYSTEMS GMBH & CO. KG certifies

that this Party is a non-governmental corporate party. This Party is not publicly held

and is wholly owned by TET Systems Verwaltungs GmbH, which is also not publicly

held.

Dated: April 8, 2019                      Respectfully submitted,



                                          By:      /s/ John F. Olsen
                                                John F. Olsen

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